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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

EDMONDSON COMMUNITY                          *
ORGANIZATION, INC., et al.,
                                             *
                     Plaintiffs,
                                             *
              v.                                   No. 1:24-cv-01921-BAH
                                             *
MAYOR AND CITY COUNCIL OF                    *
BALTIMORE, et al.,
                     Defendants.

     *   *    *   *   *     *   *    *    *   *    *  *
  STIPULATION TO EXTEND THE TIME FOR THE STATE OF MARYLAND
                        TO INTERVENE

       Plaintiffs, the Edmondson Community Organization, Inc. and Bonita Anderson;

Defendants, Mayor and City Council of Baltimore, Michael Mocksten, Tempest LLC and

East Coast Tax Auctions, LLC; and the State of Maryland, by their undersigned counsel,

file this Stipulation to Extend the Time for the State of Maryland in Intervene, and state:

       1.     Plaintiffs commenced this action by the filing of their complaint (ECF 1) on

July 2, 2024. Plaintiffs filed their amended complaint (ECF 22) on October 1, 2024.

       2.     In accordance with Rule 5.1 of the Federal of the Federal Rules of Civil

Procedure, on October 1, 2024, Plaintiffs filed their Rule 5.1 Notice of Constitutional

Question (ECF 23) (the “Notice”) and served a copy of the Notice upon the State of

Maryland (the “State”).
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       3.     Pursuant to Rule 5.1, “[u]nless the court sets a later time, the attorney general

may intervene within 60 days after the notice is filed or after the court certifies the

[constitutional] challenge, whichever is earlier.”

       4.     At present, December 2, 2024 is the deadline by which the State may

intervene in this matter.

       5.      The undersigned parties stipulate that the deadline for the State to intervene

shall be extended to that date which is thirty (30) days from when the Court enters an order

ruling on the motions to dismiss the Defendants expect to file in this matter.

       WHEREFORE, the parties request that this Court enter an order approving this

stipulation and providing that the deadline for the State to intervene shall be extended to

that date which is thirty (30) days from when the Court enters an order ruling on

Defendants’ motions to dismiss.

                                                  Respectfully submitted,

                                                  ANTHONY G. BROWN
                                                  Attorney General of Maryland
/s/ Elchanan Engel, Esq.
___________________________                       /s/ Howard R. Feldman
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/s/ Lee H. Ogburn, Esq.                    /s/ Anthony D. Onwuanibe
___________________________                ___________________________
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SO ORDERED:



United States District Judge

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                           CERTIFICATE OF SERVICE

      I certify that, on this 25th day of November, 2024 the foregoing was served by

CM/ECF on all registered CMF users and by first-class mail and email on the following:

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                                               /s/ Howard R. Feldman
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